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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :      CRIMINAL NO. 18-146
               v.                            :
                                             :
                                             :
ISABELLE GARCIA,                             :
               Defendant.                    :

                  GOVERNMENT’S MOTION FOR PROTECTIVE ORDER

       The United States of America, through its attorney, the United States Attorney for the

District of Columbia, respectfully moves the Court, pursuant to Fed. R. Crim. P. 16(d)(1), for the

entry of a protective order governing the production of discovery by the parties in the above-

captioned case. The Government’s proposed order will expedite the flow of discovery material

between the parties and adequately protect personal identity information entitled to be kept

confidential. The Government sent the proposed protective order to counsel for the defendant

shortly after the defendant’s arraignment on December 7, 2020, and again sought the defendant’s

position on the proposed order on December 14, 2020. Defense counsel has yet not responded.

       The Government respectfully requests that the Court grant the motion and enter the

attached Order.

                                             Respectfully submitted,

                                             MICHAEL R. SHERWIN
                                             ACTING UNITED STATES ATTORNEY

                                     By:             /s/
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